F l,._¥'= BY
Case 2:05-cr-20206-.]TF Document9 Filed 06/03/05 Pagelon Pia 9

g §
UNITED STATES DISTRICT COURT JUN ' 3 2005
WESTERN DISTRICT OF TENNESSEE
Western Division

Robert R. Di Tro|io, C!ark
U. S. DIST COUFlT

UNITED sTATEs oF AMERICA W- D- CF TN- MEMPH'S
'VS' Case No. 2:05¢1-20206-11)
REGINALI) sELLERs

 

ORDER APPOINTING COUNSEL PURSUANT TO
'I`HE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Pub]ic Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

- Al] purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this f `L+ day of J une, 2005.

57/§;»,

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Pub]ic Defender
lntake

REGINALD SELLERS

This document entered on the docket sheet in compliance
with sale 55 and/or sz{b) irsch on ' “ 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20206 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

